Case 2:21-cv-04078-JP Document 1 Filed 09/14/21 Page 1 of 8

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

PENNSYLVANIA
CIVIL ACTION
Maria R. Barbalinardo : JURY TRIAL DEMANDED
2340 South Bancroft Street :
Phila PA 19145
Plaintiff :
V : NO:

Saber Healthcare Holdings LLC

t/a Bryn Mawr Extended Care

26691 Richmond Road

Bedford Heights OH 44145
Defendant

And

Bryn Mawr Healthcare Group, LLC

t/a Bryn Mawr Extended Care

26691 Richmond Road

Bedford Heights OH 44145
Defendant :

COMPLAINT

PARTIES

1. The plaintiffis Maria R. Barbalinardo an adult who lives at 240 S. Bancroft St.,
Philadelphia, PA 19145,

2. The defendant is Saber Healthcare Holdings, LLC which trades as Bryn Mawr
Extended Care. This defendant is a limited liability company which was formed in,
and is a citizen of the State of Ohio. This defendant’s principal place of business and
nerve center is at 26691 Richmond Rd., Bedford Heights, OH 44145, The plaintiff is
asserting a professional liability claim against this defendant. A Certificate of Merit is
attached to the Complaint as Exhibit A.

3. The defendant is Bryn Mawr Healthcare Group, LLC which trades as Bryn Mawr
Extended Care. This defendant is a limited liability company which was formed in
and is a citizen of the State of Ohio. This defendant’s principal place of business and

nerve center is at 26691 Richmond Rd., Bedford Heights, OH 44145. The plaintiff is

 
Case 2:21-cv-04078-JP Document1 Filed 09/14/21 Page 2 of 8

assetting a professional liability claim against this defendant. A Certificate of Merit is
attached to the Complaint as Exhibit B.
STATEMENT OF JURISDICTION AND VENUE

4, Jurisdiction is proper in this Court under 28 U.S.C. 1332 (a) (1) because the
plaintiff and the defendants are citizens of different states and the amount in
controversy exceeds $75,000.00 excluding interest and costs.

5. Venue is proper in the Court under 28 U.S.C. Section 1391 as this action arises from
medical negligence which occurred in this district.

BACKGROUND

6. Bryn Mawr Healthcare Group, LLC is a subsidiary of Saber Healthcare Holdings,
LLC. Together, from their nerve center in Bedford Heights Ohio, they operate a
facility known as Bryn Mawr Extended Care Center at 956 E. Railroad Ave., Bryn
Mawr, PA which is within this judicial district.

7, Hereinafter, both defendants will be collectively referred to as “the defendants” and
the Bryn Mawr Extended Care Center will be referred to as “the care center”.

8. The defendants market the care center as a skilled nursing facility specializing in
senior rehabilitation services and extended care.

9, On or about November 8, 2020, the plaintiff who had been a patient at Thomas
Jefferson University Hospital was transferred to the care center for care and
treatment. The medical records sent to the care center with the patient indicated a
history of multipie recent falls and confusion.

10. The plaintiff was known to be a falls risk.

 
11.

12,

13.

14.

15.

16.

Case 2:21-cv-04078-JP Document1 Filed 09/14/21 Page 3 of 8

Within hours of her admission the plaintiff, who was 88 years old at the time, was left
unaccompanied and without fall precautions. It is believed in therefore averred that
no falls risk assessment was done on the plaintiff. It is further believed and therefore
averted that the care center had inadequate falls prevention procedures or the
professionals at the facility failed to follow the falis prevention procedures.

While unaccompanied the plaintiff was caused to fall causing personal injuries which
are set forth more fully hereinafter.

At all times relevant to this action the defendants acted by and through their agents,
servants, workmen and employees who were working in this course and scope of their
agency relationship.

The negligence of the defendants consisted of a) failing to take adequate fall
precautions, b) failure to do an assessment for the danger of falls, c) leaving the
plaintiff unaccompanied, d) failure to follow their own policies and procedures for the
prevention of falls and e) failure to have adequate procedures in place for the
prevention of falls.

As a result of the negligence of the defendants the plaintiff suffered the following
injuries: Traumatic brain injury (TBI) with subarachnoid/intracranial hemorrhage,
skull fracture (left supraorbital/frontal bone) and left wrist fracture (traverse radial
styloid process fracture).

As result of the negligence of the defendants the plaintiff has been caused and will
continue to be caused pain suffering loss of life’s pleasures disfigurement and

expenses for medications and medical attention.

 

 
Case 2:21-cv-04078-JP Document1 Filed 09/14/21 Page 4 of 8

WHEREFORE plaintiff prays judgment against the defendants in the amount of
$500,000.

Respectfully Submitted,

(fuseceette

JOHN NB@UMANN HICKEY

 

 

 

 
Case 2:21-cv-04078-JP Document1 Filed 09/14/21 Page 5 of 8

EXHIBIT A

 
Case 2:21-cv-04078-JP Document1 Filed 09/14/21 Page 6 of 8

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

PENNSYLVANIA
CIVIL ACTION
Maria R. Barbalinardo : JURY TRIAL DEMANDED
Plaintiff :
Vv : NO:

Saber Healthcare Holdings LLC

t/a Bryn Mawr Extended Care
Defendant

And

Bryn Mawr Healthcare Group, LLC

t/a Bryn Mawr Extended Care
Defendant

CERTIFICATE OF MERIT AS TO DEFENDANT SABER HEALTHCARE HOLDINGS,
LLC T/A BRYN MAWR EXTENDED CARE

I, John Neumann Hickey, Esquire, certify that:

The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harms.

Date: 4 Uy XY

JOHN NEUMANN HICKEY

 
Case 2:21-cv-04078-JP Document 1 Filed 09/14/21 Page 7 of 8

EXHIBIT B

 
Case 2:21-cv-04078-JP Document1 Filed 09/14/21 Page 8 of 8

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

PENNSYLVANIA
CIVIL ACTION
Maria R, Barbalinardo : JURY TRIAL DEMANDED
Plaintiff :
Vv : NO:

Saber Healthcare Holdings LLC
t/a Bryn Mawr Extended Care
Defendant
And
Bryn Mawr Healthcare Group, LLC
t/a Bryn Mawr Extended Care
Defendant

CERTIFICATE OF MERIT AS TO DEFENDANT BRYN MAWR HEALTHCARE
GROUP, LLC T/A BRYN MAWR EXTENDED CARE

I, John Neumann Hickey, Esquire, certify that:

The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harms.

Date: ele

  

 

JOHN/NEUMANN HICKEY

 
